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www.nebraska.gov/apps-courts-epub/
05/31/2019 12:06 AM CDT




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                                  Nebraska Supreme Court A dvance Sheets
                                          303 Nebraska R eports
                                                  STATE v. GOYNES
                                                  Cite as 303 Neb. 129



                                         State of Nebraska, appellee, v.
                                        Michael E. Goynes, Jr., appellant.
                                                    ___ N.W.2d ___

                                           Filed May 17, 2019.     No. S-18-135.

                 1. Constitutional Law: Search and Seizure: Motions to Suppress:
                    Appeal and Error. In reviewing a trial court’s ruling on a motion to
                    suppress based on a claimed violation of the Fourth Amendment, an
                    appellate court applies a two-part standard of review. Regarding histori-
                    cal facts, an appellate court reviews the trial court’s findings for clear
                    error, but whether those facts trigger or violate Fourth Amendment
                    protections is a question of law that an appellate court reviews indepen-
                    dently of the trial court’s determination.
                 2. Pretrial Procedure: Trial: Evidence: Appeal and Error. Where there
                    has been a pretrial ruling regarding the admissibility of evidence, a party
                    must make a timely and specific objection to the evidence when it is
                    offered at trial in order to preserve any error for appellate review.
                 3. Trial: Evidence: Motions to Suppress: Waiver: Appeal and Error.
                    The failure to object to evidence at trial, even though the evidence was
                    the subject of a previous motion to suppress, waives the objection, and
                    a party will not be heard to complain of the alleged error on appeal.
                 4. Search Warrants: Affidavits: Probable Cause: Appeal and Error. In
                    reviewing the strength of an affidavit submitted as a basis for finding
                    probable cause to issue a search warrant, an appellate court applies a
                    totality of the circumstances test.
                 5. ____: ____: ____: ____. In reviewing the strength of an affidavit sub-
                    mitted as a basis for finding probable cause to issue a search warrant,
                    the question is whether, under the totality of the circumstances illus-
                    trated by the affidavit, the issuing magistrate had a substantial basis for
                    finding that the affidavit established probable cause.
                 6. Search Warrants: Probable Cause: Words and Phrases. Probable
                    cause sufficient to justify issuance of a search warrant means a fair
                    probability that contraband or evidence of a crime will be found.
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                     303 Nebraska R eports
                              STATE v. GOYNES
                              Cite as 303 Neb. 129
 7. Search Warrants: Affidavits: Evidence: Appeal and Error. In evalu-
    ating the sufficiency of an affidavit used to obtain a search warrant,
    an appellate court is restricted to consideration of the information and
    circumstances contained within the four corners of the affidavit, and
    evidence which emerges after the warrant is issued has no bearing on
    whether the warrant was validly issued.
 8. Search Warrants: Probable Cause. The particularity requirement for
    search warrants is distinct from, but closely related to, the requirement
    that a warrant be supported by probable cause.
 9. Search Warrants. A purpose of the particularity requirement for a
    search warrant is to prevent the issuance of warrants on loose, vague, or
    doubtful bases of fact.
10. Constitutional Law: Search Warrants: Police Officers and Sheriffs.
    To satisfy the particularity requirement of the Fourth Amendment, a
    warrant must be sufficiently definite to enable the searching officer to
    identify the property authorized to be seized. The degree of specificity
    required depends on the circumstances of the case and on the type of
    items involved.
11. Search Warrants: Probable Cause: Evidence. A search warrant may
    be sufficiently particular even though it describes the items to be seized
    in broad or generic terms if the description is as particular as the sup-
    porting evidence will allow, but the broader the scope of a warrant, the
    stronger the evidentiary showing must be to establish probable cause.
12. Search and Seizure: Search Warrants: Probable Cause. A warrant
    for the search of the contents of a cell phone must be sufficiently limited
    in scope to allow a search of only that content that is related to the prob-
    able cause that justifies the search.
13. Appeal and Error. An appellate court is not obligated to engage in an
    analysis that is not necessary to adjudicate the case and controversy
    before it.

   Appeal from the District Court for Douglas County: Peter
C. Bataillon, Judge. Affirmed.
 Thomas C. Riley, Douglas County Public Defender, and
Matthew J. Miller for appellant.
  Douglas J. Peterson, Attorney General, and Melissa R.
Vincent for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
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                        STATE v. GOYNES
                        Cite as 303 Neb. 129
   Funke, J.
   Michael E. Goynes, Jr., appeals his convictions of murder in
the first degree, use of a deadly weapon (firearm) to commit
a felony, and possession of a deadly weapon by a prohibited
person. On appeal, Goynes challenges the district court’s fail-
ure to suppress cell phone data content acquired through the
execution of a search warrant. Goynes claims the warrant was
unsupported by probable cause and insufficiently particular.
The State, in turn, argues that the warrant was supported by
probable cause and sufficiently particular and that the officers
who executed the warrant acted in good faith. For the reasons
set forth herein, we affirm.
                      I. BACKGROUND
   At 4:25 p.m. on April 25, 2016, Omaha Police Department
officers responded to a report of shots fired at an apartment
complex in Omaha, Nebraska. In front of the complex, the
officers found Barbara Williams on the ground in a pool of
blood. Williams had been shot in the chest, and paramedics
pronounced her dead at the scene.
   As a result of a subsequent investigation, officers identified
Goynes as a suspect and took him into custody on April 30,
2016. Goynes had an “LG Tribute 5” cell phone in his pos-
session when he was arrested. Det. Larry Cahill submitted
an application for a search warrant authorizing examination
of the cell phone and the extraction of electronically stored
information. In the supporting affidavit, Cahill stated his belief
that data from the cell phone would assist him in determin-
ing the course of events regarding the homicide investigation
of Williams.
   The factual basis Cahill provided in his affidavit explained
that on Monday, April 25, 2016, officers responded to the
shooting at the apartment complex. Upon their arrival, the
officers observed Williams deceased in front of the complex
with an apparent gunshot wound to her torso. The officers then
undertook an investigation wherein several potential witnesses
to the shooting were interviewed.
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                   303 Nebraska R eports
                        STATE v. GOYNES
                        Cite as 303 Neb. 129
   The affidavit stated that around 4:20 p.m. on April 25,
2016, a witness heard approximately four or five gunshots and
observed a white, four-door sedan parked just east of the north
entrance facing the apartments. The witness then observed a
black male wearing a white T-shirt, gray pants, and a dark-
colored hat holding a handgun in his right hand and walking
toward the sedan. The black male got into the driver’s side of
the sedan, which left the area quickly, traveling east on Boyd
Street toward North 48th Street.
   This account was supported by video described in the affi-
davit. In the video, which showed various views of the front
of the apartment complex, investigators observed a white,
four-door sedan drive past the front of the complex’s entrance,
where officers later located Williams, and park in a spot east
of that entrance. The officers observed an unidentified party
travel from where the sedan was parked, approach the elevated
stoop of the entrance, and return back to the sedan’s location.
The video then showed the sedan leaving, traveling east on
Boyd Street.
   Cahill’s affidavit described interviews occurring on April
29, 2016, with two other potential witnesses, George Taylor
and Saville Hawthorne, who claimed to know the identity of
the suspect.
   Taylor’s interview provided that Taylor and Hawthorne
drove to a parking space across the street from the apart-
ment complex at 4 p.m. on April 25, 2016. Taylor described
that Hawthorne and Williams were friends and that after
Taylor parked his vehicle facing the entrance of the complex,
Hawthorne briefly went to talk to Williams before return-
ing to the vehicle. Once Hawthorne returned to the vehicle,
Taylor observed a white, four-door sedan pull into a parking
spot just east of the apartment entrance where Williams was
located. Taylor stated he observed a black male wearing a
white T-shirt, dark pants, and a black hat exit the sedan, possi-
bly from the back seat. Taylor indicated that he saw additional
parties inside the white sedan, but that those individuals did
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                        STATE v. GOYNES
                        Cite as 303 Neb. 129
not exit the sedan. Upon exiting the sedan, the black male
began walking toward the elevated stoop where Williams was
sitting. Taylor identified the man as Goynes, also known as
“‘Gang Bang,’” explaining that Goynes is Hawthorne’s cousin
and a known gang member. Taylor described that Goynes then
began firing a black handgun toward the stoop in front of
the entrance. Taylor stated that two men, whom he knew as
“‘Action’” and “‘Stay Ready,’” were sitting on the elevated
stoop near Williams and that he believed Goynes was shooting
at these men. Taylor stated he watched Goynes fire approxi-
mately 10 times, firing all the way up to the entryway stairs
and toward where he saw “‘Action’” and “‘Stay Ready’” run-
ning. Taylor then sought cover and did not see Goynes or the
sedan leave.
   In Hawthorne’s interview, she stated that she rode to the
apartment complex with Taylor and that they parked facing the
entrance of the complex. After noticing several friends, includ-
ing Williams, sitting on the stoop in front of the entrance,
she went over and “sat with them for a couple minutes.”
Hawthorne was then called away and left the stoop to return
to the vehicle, where she sat in the front passenger seat. While
in the vehicle, Hawthorne observed a white, four-door sedan
approach and park on the east side of the entrance and saw
a black male exit the sedan from the rear driver’s side seat.
The man that exited the sedan, whom Hawthorne identified as
her cousin Goynes, walked toward the stoop and pulled out a
black handgun from his waist which he used to shoot toward
the stoop at least 10 times. Hawthorne believed Goynes was
shooting at two men on the stoop she identified as “‘Action’”
and “‘Stay Ready,’” whom she observed fled into the court-
yard of the apartment complex. Hawthorne explained that
Goynes ran up the stairs of the stoop and continued to shoot
toward the courtyard before heading back and getting into the
sedan. Hawthorne described that the sedan left the scene east-
bound toward 48th Street. Hawthorne clarified she was “100%
sure” Goynes was the shooter and was able to positively
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                         STATE v. GOYNES
                         Cite as 303 Neb. 129
identify him from a photographic lineup, as well as “‘Action’”
and “‘Stay Ready.’”
   Cahill asserted in his affidavit that there was data on the
cell phone related to the offense and listed the areas in which
that data could be found. Cahill supported his assertion by
explaining:
         From training, experience and research Affiant Officer
      is aware that the data on cell phones can provide invalu-
      able insight for criminal investigations. Cell phones are
      used for communication, access to information, socializa-
      tion, research, entertainment, shopping and other func-
      tionality. In addition to personal use, cell phones are often
      used as tools in criminal activity. Affiant Officer is aware
      of numerous instances where cell phones were used by
      participants in crimes to communicate via voice and text
      messaging, occasions when they took photographs of
      themselves with weapons and/or illegal narcotics, times
      when they created videos of their criminal activity and
      instances when the Internet was used to research crimes
      they participated in, just to name a few. As such a cell
      phone can serve both as an instrument for committing
      a crime, as well as a storage medium for evidence of
      the crime.
         Cell phone data can assist investigators in determin-
      ing the culpability of participants in criminal investiga-
      tions. This is because the data can potentially provide
      a wealth of information that can assist in determining
      the motivation, method and participants involved in an
      incident. Information on the devices can provide invalu-
      able insight to the who, what, when, where and why an
      incident occurred.
Cahill continued by explaining the kind of information the
listed types of cell phone data could provide to investigators.
   The county court found probable cause to support the
warrant and granted Cahill’s application. In the warrant, the
court identified the warrant was in relation to the Williams’
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                   303 Nebraska R eports
                        STATE v. GOYNES
                        Cite as 303 Neb. 129
homicide and authorized the search of the cell phone data
described in the affidavit, including: cell phone informa-
tion and configurations; user account information; call logs;
contact lists; short and multimedia messaging service mes-
sages; chat and instant messages; email messages; installed
applications and their corresponding data; media files such
as images, videos, audio, and document files; internet brows-
ing history; cell tower connections; global positioning system
fixes, waypoints, routes, and tracks; Wi-Fi, Bluetooth, and
synchronization connection history; memorandums and notes;
user dictionary; and calendar information.
   A subsequent application seeking the cell phone records
from Goynes’ cell phone provider was also granted but is not
at issue in the instant appeal.
   Goynes was charged with murder in the first degree, use of
a deadly weapon (firearm) to commit a felony, and possession
of a deadly weapon by a prohibited person.
   Prior to trial, Goynes filed a motion to suppress all evidence
obtained from the search of his cell phone records for the
reason that such search was conducted in violation of the 4th,
5th, and 14th Amendments to the U.S. Constitution and article
I, §§ 3, 7, 11, and 12 of the Nebraska Constitution. A hearing
was held on the motion, and the district court clarified with
Goynes that his motion was for both the cell phone records
and the contents of his cell phone. The search warrant applica-
tions, affidavits, warrants, and other evidence were received as
exhibits for the motion to suppress.
   Cahill testified during the hearing and explained the proc­
ess of applying for the warrants and that he relied on the war-
rants when he performed the search of the cell phone, its data,
and its records. On cross-examination, he agreed that the wit-
nesses described in the affidavits did not provide any infor-
mation or evidence that the shooter was using a cell phone
in the minutes immediately preceding or after the shooting,
that the shooter communicated about the shooting over his
cell phone, that the shooter took photographs or video of the
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                  303 Nebraska R eports
                       STATE v. GOYNES
                       Cite as 303 Neb. 129
shooting, or that the shooter communicated about the shoot-
ing on social media.
   The court overruled Goynes’ motion and found the warrant
for the content of Goynes’ cell phone was supported by prob-
able cause provided in the affidavit. The court also found the
warrant was sufficiently particular concerning the data to be
searched, the warrant was not overly broad, and the officers
exercised good faith in performing the search.
   The case continued to a jury trial. Cahill testified for the
State, and during that testimony, the State offered Goynes’
cell phone and a compact disc containing data extracted
from the cell phone. Goynes renewed his objection to these
exhibits based upon his motion to suppress, and the court
overruled it.
   The State also called an investigator with the Omaha Police
Department’s digital forensics squad as a witness. During his
testimony, the State offered printed copies of the cell phone
data detailing activity and internet searches that Goynes per-
formed on his cell phone between April 25 and 30, 2016. The
data contained in these printouts were select datasets of the
information contained on the compact disc and Goynes’ cell
phone which were previously offered into evidence during
Cahill’s testimony. Goynes did not specifically object when
these exhibits were presented.
   According to the data contained in these exhibits, Goynes
used the internet throughout the morning and early after-
noon on April 25, 2016. Notably, Goynes repeatedly accessed
Facebook between 3:38 and 4:19 p.m. and then stopped. There
were no cell phone calls, text messages, or internet browsing
history between 4:19 and 5:08 p.m. that day. At 5:08 p.m.,
Goynes again began accessing Facebook and, at 5:10 p.m., vis-
ited the website of a local television news station and viewed
an article about the shooting before returning to Facebook.
Later that day, Goynes again accessed Facebook and, at 9:15
p.m., visited the website of another local television news sta-
tion and viewed another article about the shooting before
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                      303 Nebraska R eports
                             STATE v. GOYNES
                             Cite as 303 Neb. 129
returning to Facebook. On April 30, the date Goynes turned
himself in to police, the cell phone was again used to access an
article related to the shooting. On that same day between the
hours of 12:42 and 7:40 a.m., the cell phone was used to search
various websites using the name “Michael Goynes,” or varia-
tions of that name, as the search term.
   At the conclusion of the trial, the jury returned a verdict
finding Goynes guilty of all counts. Goynes was sentenced to
life imprisonment for murder in the first degree, 45 to 50 years’
imprisonment for use of a deadly weapon (firearm) to commit
a felony, and 20 to 25 years’ imprisonment for possession of a
deadly weapon by a prohibited person.
                II. ASSIGNMENT OF ERROR
   Goynes assigns, restated, that the district court erred in fail-
ing to suppress cell phone data content acquired through the
execution of a warrant that was unsupported by probable cause
and insufficiently particular.
                III. STANDARD OF REVIEW
   [1] In reviewing a trial court’s ruling on a motion to sup-
press based on a claimed violation of the Fourth Amendment,
an appellate court applies a two-part standard of review.1
Regarding historical facts, an appellate court reviews the trial
court’s findings for clear error, but whether those facts trig-
ger or violate Fourth Amendment protections is a question of
law that an appellate court reviews independently of the trial
court’s determination.2
                          IV. ANALYSIS
   [2,3] We initially note Goynes failed to object to the print-
outs of the cell phone data offered during the digital forensics
investigator’s trial testimony. Where there has been a pretrial
ruling regarding the admissibility of evidence, a party must

1
    State v. Tyler, 291 Neb. 920, 870 N.W.2d 119 (2015).
2
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                            STATE v. GOYNES
                            Cite as 303 Neb. 129
make a timely and specific objection to the evidence when it
is offered at trial in order to preserve any error for appellate
review.3 The failure to object to evidence at trial, even though
the evidence was the subject of a previous motion to suppress,
waives the objection, and a party will not be heard to complain
of the alleged error on appeal.4 Therefore, Goynes’ assignments
as they relate to the printouts were waived and not adequately
preserved for appellate review.
   However, Goynes did object to the introduction of the cell
phone and the compact disc containing the cell phone data. As
such, and because we find the warrant met the probable cause
and particularity requirements of the Fourth Amendment and
article I, § 7, we address the substance of Goynes’ claims on
the validity of the warrant, even though he failed to object to
the exhibits containing the printed data from the cell phone and
failed to preserve a challenge to those exhibits for review.

                1. Validity of Search Warrant
   The Fourth Amendment provides that warrants may not be
granted “but upon probable cause, supported by Oath or affir-
mation, and particularly describing the place to be searched, and
the persons or things to be seized.” The Nebraska Constitution,
under article I, § 7, similarly provides that “no warrant shall
issue but upon probable cause, supported by oath or affirma-
tion, and particularly describing the place to be searched, and
the person or thing to be seized.”

                      (a) Probable Cause
  [4-7] In reviewing the strength of an affidavit submitted as
a basis for finding probable cause to issue a search warrant,
an appellate court applies a totality of the circumstances test.5
The question is whether, under the totality of the circumstances

3
    State v. Oldson, 293 Neb. 718, 884 N.W.2d 10 (2016).
4
    Id.5
    State v. Wiedeman, 286 Neb. 193, 835 N.W.2d 698 (2013).
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                             STATE v. GOYNES
                             Cite as 303 Neb. 129
illustrated by the affidavit, the issuing magistrate had a sub-
stantial basis for finding that the affidavit established probable
cause.6 Probable cause sufficient to justify issuance of a search
warrant means a fair probability that contraband or evidence
of a crime will be found.7 In evaluating the sufficiency of an
affidavit used to obtain a search warrant, an appellate court is
restricted to consideration of the information and circumstances
contained within the four corners of the affidavit, and evidence
which emerges after the warrant is issued has no bearing on
whether the warrant was validly issued.8
   In the affidavit executed in support of the search warrant
application, Cahill provided observations from officers inves-
tigating the scene of the shooting, summaries of interviews
conducted of witnesses to the shooting, and a description of
video showing events surrounding the shooting. Specifically,
Taylor and Hawthorne gave eyewitness accounts of the shoot-
ing and identified Goynes as the shooter. Both Taylor and
Hawthorne were acquainted with Goynes prior to the act,
as Hawthorne and Goynes were cousins. Hawthorne picked
Goynes out of a photographic lineup as well as the two men
Taylor and Hawthorne believed were the targets of the shoot-
ing. Additionally, their accounts were supported by an eye-
witness account, the video of the white sedan arriving and
leaving the scene, and the observations of the officers upon
arriving at the scene.
   Goynes had the cell phone in his possession when he
was arrested, and Cahill, through his training and experience,
described why the cell phone likely had information relevant to
the shooting investigation. Cahill explained that cell phone data
provides insight for criminal investigations in that cell phones
are used for communication, access to information, socializa-
tion, research, entertainment, shopping, and other functionality

6
    Id.
7
    State v. Sprunger, 283 Neb. 531, 811 N.W.2d 235 (2012).
8
    State v. Hidalgo, 296 Neb. 912, 896 N.W.2d 148 (2017).
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                             STATE v. GOYNES
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and that these uses are often found to be tools in criminal
activity. Cahill further explained that the data from cell phones
can provide information on the motivation, method, and par-
ticipants involved in a crime. Cahill stated that he was aware
of numerous instances where cell phones were used by partici-
pants in crimes to communicate through voice and text mes-
saging, take photographs of themselves with weapons or illegal
narcotics, create videos of their criminal activity, and research
crimes in which they participated. Cahill opined that these uses
demonstrate a cell phone can serve as both an instrument for
committing a crime and as a storage medium for evidence of
the crime.
   The factual basis provided in Cahill’s affidavit is similar to
the one described in State v. Henderson.9 In that case, two men
were shot and two men were seen running from the scene. The
affidavits provided to the county court established that there
was a fair probability that the defendant, Tillman Henderson,
was involved in the shootings and that he had a cell phone in
his possession when he was taken into custody shortly after
the shootings. The officer seeking the warrant also provided
language that, in his experience as a detective, he knew sus-
pects used cell phones to communicate about shootings they
have been involved in before, during, and after the shootings
and that such communications could be through, inter alia,
voice or text messages or social media. In determining that the
affidavits provided the county court a substantial basis to find
probable cause existed to search the cell phone, we found that
it is reasonable to infer that Henderson’s cell phone was used
to communicate with others regarding the shootings before,
during, or after they occurred, because Henderson was working
with at least one other person to commit the shootings.10
   In the instant case, Goynes had the cell phone in his pos-
session at the time he was taken into custody and the affidavit

 9
     State v. Henderson, 289 Neb. 271, 854 N.W.2d 616 (2014).
10
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established it was a fair probability that Goynes had commit-
ted the shooting. There were additionally witness accounts
summarized in the affidavit that described Goynes’ commit-
ting the shooting with the aid of one or more other people,
and Cahill described how, in his experience as an investigator,
individuals who committed similar crimes commonly com-
municate, research, record, and perform other operations on
their cell phones that would amount to evidence of the crime.
Although the content of the affidavit pertaining to how sus-
pects use cell phones standing alone may not always be suf-
ficient probable cause, when considered with all of the facts
recited above, as we determined in Henderson, the affidavit
provided a substantial basis to find probable cause existed to
search the cell phone data.

                         (b) Particularity
   [8,9] In addition to the requirement of probable cause, the
Fourth Amendment and article I, § 7, contain a particular-
ity requirement describing the place to be searched and the
persons or things to be seized. The particularity requirement
for search warrants is distinct from, but closely related to, the
requirement that a warrant be supported by probable cause.11 A
purpose of the particularity requirement for a search warrant is
to prevent the issuance of warrants on loose, vague, or doubtful
bases of fact.12
   [10-12] To satisfy the particularity requirement of the Fourth
Amendment, a warrant must be sufficiently definite to enable
the searching officer to identify the property authorized to be
seized.13 The degree of specificity required depends on the
circumstances of the case and on the type of items involved.14

11
     State v. Baker, 298 Neb. 216, 903 N.W.2d 469 (2017).
12
     Sprunger, supra note 7.
13
     Baker, supra note 11. See, also, U.S. v. Sigillito, 759 F.3d 913 (8th Cir.
     2014).
14
     See, Sigillito, supra note 13; Baker, supra note 11.
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A search warrant may be sufficiently particular even though
it describes the items to be seized in broad or generic terms
if the description is as particular as the supporting evidence
will allow, but the broader the scope of a warrant, the stronger
the evidentiary showing must be to establish probable cause.15
As relevant to the instant case, a warrant for the search of the
contents of a cell phone must be sufficiently limited in scope to
allow a search of only that content that is related to the prob-
able cause that justifies the search.16
   Here, as detailed in the previous section, Cahill’s affidavit
provided probable cause that Goynes committed the shoot-
ing and that he was aided by others. When Goynes was
taken into custody, he had the cell phone in his possession.
Cahill explained cell phone data provides insight for criminal
investigations on the motivation, method, and participants in
that cell phones are used for communication, access to infor-
mation, socialization, research, entertainment, shopping, and
other functionality. Accordingly, Cahill listed several types of
data he was seeking to search through the warrant and how
the data was relevant to the investigation. These types of data
included the following: cell phone information, configurations,
calendar events, notes, and user account information which
could identify who owns or was using a cell phone; call logs
which could establish familiarity between people involved
and timelines of an incident; short and multimedia messag-
ing service messages, chat and instant messages, and emails
which could provide insight to establish an individual’s level
of culpability and knowledge of the incident; installed applica-
tion data which could aid in determining a user’s historical
geographic location and demonstrate the user’s association
with investigated people, location, and events; media files such
as images, videos, audio, and documents which could provide

15
     Baker, supra note 11.
16
     See Henderson, supra note 9.
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times and locations, as well as firsthand documentation of the
incident; internet browsing history which could demonstrate
the planning, desire, and participation in a crime; cell tower
connections, global positioning system data, Wi-Fi, Bluetooth,
and synchronization logs which could provide information on
location in relation to the incident; and user dictionary infor-
mation which could demonstrate familiarity with the crime
being investigated.
   The county court used the list sought by Cahill and restated
these types of data in the warrant as the areas permitted to be
searched. From the facts surrounding the shooting and Cahill’s
explanation of the areas in the cell phone he was seeking to
search, the court had a substantial basis to find probable cause
that evidence relevant to the shooting was accessible data in
the areas listed.
   Goynes argues the scope of the search authorized in the
warrant was too broad and was similar to warrants we deter-
mined did not meet the particularity requirement in Henderson.
Goynes contends that the areas which the warrant permitted
to be searched encompassed the entirety of the data contained
within the cell phone and that Henderson condemns the allow-
ance of such a search of “‘any and all’” information stored on
a cell phone.17
   However, Henderson does not stand for the rule that a
search of a cell phone cannot be expansive; instead, we held
that the unlimited search of the cell phone in that case did
not align with the justifying probable cause.18 The Henderson
warrants failed to refer to a specific crime being investigated.
In addition, while the warrants in Henderson listed types of
cell phone data to search, such as calls and text messages,
they also authorized a search of “‘any other information that
can be gained from the internal components and/or memory

17
     Brief for appellant at 25.
18
     Henderson, supra note 9.
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Cards.’”19 In finding the warrants were insufficiently particu-
lar, we noted the privacy interests arising from a cell phone’s
immense storage capacity, ability to store many different types
of information, functionality as a digital record of nearly every
aspect of the owner’s life, and ability to access data located
elsewhere.20 We concluded that a warrant for the search of the
contents of a cell phone must be sufficiently limited in scope
to allow a search of only that content that is related to the
probable cause that justifies the search.21 We further held that
by including such a catchall phrase as “‘any other informa-
tion,’” a warrant fails to set parameters for the search of this
substantial device and limit the search to only that content that
is related to the probable cause justifying the search.22
   Unlike Henderson, the warrant in the instant case did iden-
tify it was for the investigation for the homicide of Williams.
The warrant also did not contain such unqualified language
that would permit the search of the cell phone for “‘any other
information.’”23 Instead, the warrant listed specific areas to be
searched within the cell phone. These areas were described in
the affidavit, along with a description of the information they
held which would be relevant to the investigation.
   The affidavit authored by Cahill set forth sufficient prob-
able cause to justify the search of the cell phone and sufficient
particularity to identify the locations on the cell phone to be
searched and the content to be seized. As a result, the court
had a substantial basis for finding that probable cause existed
to issue a warrant for these areas, and the warrant limited the
scope in listing specific areas to be searched for evidence rel-
evant to the homicide of Williams.

19
     Id. at 277, 854 N.W.2d at 625.
20
     Henderson, supra note 9.
21
     Id.
22
     Id. at 290, 854 N.W.2d at 633.
23
     See id.
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                    2. Good Faith Exception
   [13] Because we conclude the affidavit contained sufficient
facts to establish probable cause for the issuance of a search
warrant, we need not address whether the good faith excep-
tion to the exclusionary rule applies. An appellate court is not
obligated to engage in an analysis that is not necessary to adju-
dicate the case and controversy before it.24
                      V. CONCLUSION
   For the reasons stated above, we conclude the search war-
rant at issue was supported by probable cause and met the
particularity requirement of the Fourth Amendment and arti­
cle I, § 7. Accordingly, the district court did not err in declin-
ing to suppress evidence obtained through the execution of
the warrant.
                                                      A ffirmed.

24
     State v. Jedlicka, 297 Neb. 276, 900 N.W.2d 454 (2017).
